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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                DISTRICT OF NEW JERSEY


                                              X
Plaintiff,

SHRI LAKSHMI COTSYN LTD.
                                                            CIVIL ACTION
             -vs-                                     Case No. 3:12-CV-01614-FLW-DEA

Defendant/ Counterclaimant

HN INTERNATIONAL GROUP, INC.                          NOTICE OF MOTION TO DISMISS
                                              X       AND COMPEL ARBITRATION

The Defendant moves to dismiss the action because:


    1. The claims alleged herein by the Plaintiff, SHRI LAKSHMI COTSYN LTD. are subject to

        an arbitration provision contained in a Master Vendor Agreement.

    2. Both parties signed a Master Vendor Agreement in October of 2009 in which paragraph

        25 provides that “any disagreement or dispute related to the Agreement which remains

        unresolved after good faith negotiation, shall be referred to and determined by

        arbitration”

    3. Defendant/Counterclaimant requests the matter be dismissed and the Plaintiff be

        compelled to arbitrate their claims pursuant to the Agreement of the parties.


Dated: June 27, 2012
                                                      /S/    Steven P. Ross
                                                             Steven P. Ross
                                                             Attorney for the Defendant
                                                             52 Main Street
                                                             Hackensack, NJ 07601
                                                             Phone: 201-488-4300
                                                             spross@rossesq.com


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                                CERTIFICATE OF SERVICE

              I hereby certify that on June 29, 2012 I served the foregoing Notice of Motion to
Dismiss upon the following attorneys for the Plaintiff at their address as indicated below:


                                By Notice of Electronic Filing:

                                 EDWARD S. ANTAR, ESQ.
                                     42 Falmouth Street
                                    Brooklyn, N.Y. 11235
                                    Attorney for Plaintiff
                                  antar.edward@gmail.com




/S/    Steven P. Ross
       Steven P. Ross
       Attorney for the Defendant
       52 Main Street
       Hackensack, NJ 07601
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